       Case 1:25-cv-00617-ALC                    Document 1-3              Filed 01/21/25             Page 1 of 6


From:               Range, Trey
To:                 mroth@newyorkhelicopter.com
Cc:                 Cory Clark; Van de Vuurst, Robert; Jamie Hinch; jcostello@newyorkhelicopter.com
Subject:            RE: Notice of Default Under Helicopter Lease Agreement dated April 17, 2024, by and between New York
                    Helicopter Charter, Inc. and PHI Aviation, LLC, N407MR, SN 53114
Date:               Tuesday, November 26, 2024 4:28:00 PM
Attachments:        Notice of Default under Helicopter Lease Agreement.pdf



Mr. Roth,

We received the below email and wanted to clear a few things up. As explained in the
attached, Lessee is currently in default under the Lease Agreement. Section 11.2(c) of the
Lease Agreement provides that PHI will not provide replacement components while the
Lessee is in default. Additionally, please note that Lessee has an ongoing obligation under the
Lease Agreement to maintain insurance covering the aircraft and if Lessee fails to do so that’s
a separate breach. We look forward to receipt of the outstanding balance by the end of day
Friday, or else PHI may be forced to repossess the aircraft and pursue any and all remedies
available under the Lease Agreement and applicable law.

Thanks,

Trey

Trey Range
Shareholder

Baker, Donelson, Bearman, Caldwell & Berkowitz, PC
602 Sevier Street
Suite 300
Johnson City, TN 37604

Phone +1 423.975.7623
Fax   +1 423.979.7623
trange@bakerdonelson.com

Baker, Donelson, Bearman, Caldwell & Berkowitz, PC represents clients across the U.S. and abroad from
offices in Alabama, Florida, Georgia, Louisiana, Maryland, Mississippi, North Carolina, South Carolina,
Tennessee, Texas, Virginia, and Washington, D.C.

                                                                                                                           EXHIBIT
           From: Mike Roth <mroth@newyorkhelicopter.com>
           Sent: Tuesday, November 26, 2024 10:51 AM
           To: Van de Vuurst, Robert <rvandevuurst@bakerdonelson.com>
                                                                                                                            C
           Cc: Cory M. Clark (cclark@phihelico.com) <cclark@phihelico.com>; Jason Costelllo
           <jcostello@newyorkhelicopter.com>
           Subject: Re: Notice of Default Under Helicopter Lease Agreement dated April 17, 2024, by
           and between New York Helicopter Charter, Inc. and PHI Aviation, LLC, N407MR, SN 53114


           Gentlemen

           I was told you wot supply parts for helicopter we had bad experience with you
Case 1:25-cv-00617-ALC         Document 1-3        Filed 01/21/25       Page 2 of 6


 from day one when we departed Laffayet helicopter broke in Carolinas for one
 week we were never give ant credit with our time Last time we were down for
 weeks when fadeck system was broken nothing but problems as PLEASE ADVICE
 WHERE YOU WOULD LIKE US TO DROP OFF HELICOPTER ASAP AS WE WILL BE
 REMOVING IT FROM OUR INSURANCE AND HANGER IF WE DONT HER FROM
 YOU WE WILL FLY IT BACK TO PHI LAFAYETTE.

 Mike Roth




      On Nov 21, 2024, at 8:18 AM, Van de Vuurst, Robert
      <rvandevuurst@bakerdonelson.com> wrote:

      Good morning Mr. Roth – to respond to your email below, I am advised that
      PHI Aviation did receive a $25,000.00 payment from you yesterday, which,
      although it was very much overdue, cleared the CMI2-002760-2024
      invoice. That said, you are still in default on the other invoices referenced
      in my letter, and PHI Aviation is not going to wait 6 weeks for payment. The
      due date in my letter for full payment of the remaining amounts owing
      (November 29, 2024) still apply. If full payment is not made by that date,
      then PHI Aviation will take such actions as it considers appropriate at the
      time, all of which remedies are set out in the Lease Agreement, and all of
      which rights and remedies are expressly reserved. Thank you.

      Robert Van de Vuurst
      Baker, Donelson, Bearman, Caldwell & Berkowitz, P.C.
      602 Sevier Street
      Suite 300
      Johnson City, TN 37604
      Phone: 423-928-0181
      Cell: 423-956-0613
      Email: rvandevuurst@bakerdonelson.com

      Baker, Donelson, Bearman, Caldwell & Berkowitz, PC
      represents clients across the U.S. and abroad from offices in
      Alabama, Florida, Georgia, Louisiana, Maryland, Mississippi, North Carolina,
      Tennessee, Texas, Virginia and Washington, D.C.



             From: Mike Roth <mroth@newyorkhelicopter.com>
             Sent: Wednesday, November 20, 2024 2:48 PM
             To: Rook, Susan <srook@bakerdonelson.com>
Case 1:25-cv-00617-ALC       Document 1-3           Filed 01/21/25         Page 3 of 6


           Cc: Van de Vuurst, Robert <rvandevuurst@bakerdonelson.com>
           Subject: Re: Notice of Default Under Helicopter Lease Agreement
           dated April 17, 2024, by and between New York Helicopter Charter, Inc.
           and PHI Aviation, LLC, N407MR, SN 53114

           Please be advices that your payments are incorrect.
           CMI2-002760-2024 is paid in full
           CMI2-002833-2025 is partially paid with balance of $25000.00
           The remainder of the invoice will be taken care of with in the next 6
           weeks.


           Mike Roth




           Sent from my iPad




                 On Nov 20, 2024, at 2:37 PM, Rook, Susan
                 <srook@bakerdonelson.com> wrote:



                 Good afternoon Mr. Roth:

                 Please see the attached correspondence from
                 attorney Robert Van de Vuurst.

                 Thank you.



                 Susan S. Rook
                 Legal Secretary to Robert Van de Vuurst, Chad Wallace,
                 Chelsea Hayes, and Trey Range


                 Baker, Donelson, Bearman, Caldwell & Berkowitz, PC
                 602 Sevier Street, Suite 300
                 P.O. Box 3038
                 Johnson City, TN 37602
                 Phone: 423.928.0181
                 Fax: 423.928.5694
                 E-mail: srook@bakerdonelson.com
                 www.bakerdonelson.com


                 Baker, Donelson, Bearman, Caldwell & Berkowitz, PC represents
Case 1:25-cv-00617-ALC      Document 1-3             Filed 01/21/25          Page 4 of 6


                clients across the U.S. and abroad
                from offices in Alabama, Florida, Georgia, Louisiana, Maryland,
                Mississippi, North Carolina, South Carolina, Tennessee, Texas,
                Virginia and Washington, D.C.




                NOTICE: This electronic mail transmission with any
                attachments may constitute an attorney-client
                communication, protected health information
                (PHI) or other confidential information that is in
                fact confidential, legally protected from disclosure
                and/or protected by the attorney-client privilege. If
                you are the intended recipient, please maintain
                confidentiality and be aware that forwarding this e-
                mail to others may result in a waiver of these
                protections and privileges and regardless
                electronic communications may be at times
                illegally accessed and viewed. If you are not the
                intended recipient, this e-mail is not intended for
                transmission to you, nor to be read, reviewed,
                used, distributed or even received by you or any
                other unauthorized persons. If you have received
                this electronic mail transmission in error, please
                double delete it from your system immediately
                without copying, reading or disseminating it, and
                notify the sender by reply e-mail, so that our
                address record can be corrected. Thank you very
                much.
                <Notice of Default under Helicopter Lease
                Agreement.pdf>
Case 1:25-cv-00617-ALC   Document 1-3   Filed 01/21/25   Page 5 of 6
Case 1:25-cv-00617-ALC   Document 1-3   Filed 01/21/25   Page 6 of 6
